Case 4:17-cv-00336-ALM Document 137-2 Filed 11/15/17 Page 1 of 35 PageID #: 2717




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  SECURITIES AND EXCHANGE                       §
  COMMISSION                                    §
                  Plaintiff,                    §
                                                §
                                                §
  v.                                            §         Case 04:17-CV-00336-ALM
                                                §
  THURMAN P. BRYANT, III and                    §
  BRYANT UNITED CAPITAL FUNDING,                §
  INC.                                          §
                                                §
                       Defendants,              §
                                                §
  and                                           §
                                                §
  ARTHUR F. WAMMEL, WAMMEL                      §
  GROUP, LLC, THURMAN P. BRYANT,                §
  JR., CARLOS GOODSPEED a/k/a SEAN              §
  PHILLIPS d/b/a TOP AGENT                      §
  ENTERTAINMENT d/b/a/ MR. TOP                  §
  AGENT ENTERTAINMENT                           §
                                                §
                       Relief Defendants.       §

               APPENDIX TO SECOND INTERIM FEE APPLICATION
          FOR ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES

Exhibit                                Description                                 Citation
  A       Standardized Fund Accounting Report                                    App. 002-005
 B-1      Invoice Summary of the Receiver for the Application Period             App. 006-010
 B-2      Invoice Summary for Thompson & Knight LLP for the Application Period   App. 011-017
  C       Veritas Invoices                                                       App. 018-035




  APPENDIX TO SECOND INTERIM FEE APPLICATION                                         PAGE 1
  FOR ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES
  524662 000002 20079378.1
                                                                                              App. 001
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                            EXHIBIT A




                                                                              App. 002
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                                                                         EXHIBITA
                                                    STANDARDIZEDFUNDACCOUNTINGREPORT

                                                        ReceivershipinSECv.ThurmanP.BryantIII,etal.
                                                          CivilCourtDocketNo.04:17ͲCVͲ00336ͲALM

                                                 SecondQuarterlyReportingPeriodͲ07/01/2017to09/30/2017

FUNDACCOUNTING:
                                                                                                       ReportingPeriod SubtotalPriorPeriods GrandTotal
Line1      BeginningBalance(Asof07/01/2017)[aa]                                                         $30,948.95                   $0.00      $0.00

            IncreasesinFundBalance:

Line2      BusinessIncome                                                                                         $0.00                $0.00            $0.00
Line3      CashandSecurities                                                                                $18,625.37            $1,220.00       $19,845.37
Line4      Interest/DividendsIncome                                                                               $0.00                $0.00            $0.00
Line5      BusinessAssetLiquidation                                                                              $0.00                $0.00            $0.00
Line6      PersonalAssetLiquidation                                                                              $0.00                $0.00            $0.00
Line7      ThirdͲPartyLitigationIncome                                                                           $0.00                $0.00            $0.00
Line8      MiscellaneousͲOther                                                                                   $0.00           $29,871.56       $29,871.56
  Line8a                              TotalFundsAvailable(Lines1Ͳ8):                                     $49,574.32           $31,091.56       $49,716.93

            DecreasesinFundBalance:                                                                 

Line9      DisbursementstoInvestors                                                                             $0.00                 $0.00           $0.00

Line10     DisbursementsforReceivershipOperations                                                               $0.00                $0.00            $0.00
 Line10a   DisbursementstoReceiverorOtherProfessionals                                                        $0.00                $0.00            $0.00
 Line10b   BusinessAssetExpenses                                                                             $2,976.87                $0.00        $2,976.87
 Line10c   PersonalAssetExpenses                                                                             $2,022.00                $0.00        $2,022.00
 Line10d   InvestmentExpenses                                                                                    $65.00              $142.61         $207.61
 Line10e   ThirdͲPartyLitigationExpenses                                                                                                    
            1.AttorneyFees                                                                                       $0.00                 $0.00           $0.00
            2.LitigationExpenses                                                                                 $0.00                 $0.00           $0.00
            TotalThirdͲPartyLitigationExpenses                                                                  $0.00                 $0.00           $0.00

Line10f TaxAdministratorFeesandBonds                                                                           $0.00                $0.00            $0.00
Line10g FederalandStateTaxPayments                                                                             $0.00                $0.00            $0.00
         TotalDisbursementsforReceivershipOperations                                                        $5,063.87              $142.61        $5,206.48

Line11 DisbursementsforDistributionExpensesPaidbytheFund:
 Line11a                         DistributionPlanDevelopmentExpenses:
          1.Fees:
                     FundAdministration                                                                          $0.00                 $0.00           $0.00
                     IndependentDistributionConsultant(IDC)                                                     $0.00                 $0.00           $0.00
                     DistributionAgent                                                                            $0.00                 $0.00           $0.00
                     Consultants                                                                                   $0.00                 $0.00           $0.00
                     LegalAdvisers                                                                                $0.00                 $0.00           $0.00
                     TaxAdvisers                                                                                  $0.00                 $0.00           $0.00
          2.AdministrativeExpenses                                                                               $0.00                 $0.00           $0.00
          3.Miscellaneous                                                                                         $0.00                 $0.00           $0.00
          TotalPlanDevelopmentExpenses                                                                          $0.00                 $0.00           $0.00

Line11b DistributionPlanImplementationExpenses
         1.Fees
                     FundAdministration                                                                          $0.00                 $0.00           $0.00
                     IndependentDistributionConsultant(IDC)                                                     $0.00                 $0.00           $0.00
                     DistributionAgent                                                                            $0.00                 $0.00           $0.00
                     Consultants                                                                                   $0.00                 $0.00           $0.00
                     LegalAdvisers                                                                                $0.00                 $0.00           $0.00
                     TaxAdvisers                                                                                  $0.00                 $0.00           $0.00
         2.AdministrativeExpenses                                                                                $0.00                 $0.00           $0.00
         3.InvestorIdentification:
                     Notice/PublishingApprovedPlan                                                               $0.00                 $0.00           $0.00



                                                                                                                                                            App. 003
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                     ClaimantIdentification                                                     $0.00                        $0.00            $0.00
                     ClaimsProcessing                                                           $0.00                        $0.00            $0.00
          4.FundAdministratorBond                                                              $0.00                        $0.00            $0.00
          5.Miscellaneous                                                                        $0.00                        $0.00            $0.00
          6.FederalAccountforInvestorRestitution                                             $0.00                        $0.00            $0.00
          (FAIR)ReportingExpenses
          TotalPlanImplementationExpenses                                                      $0.00                        $0.00            $0.00
          TotalDisbursementsforDistributionExpensesPaidbytheFund                      $5,063.87                      $142.61        $5,206.48

Line12 DisbursementstoCourt/Other
 Line12a                        InvestmentExpenses/CourtRegistryInvestment
          System(CRIS)Fees                                                                      $0.00                        $0.00            $0.00
 Line12b FederalTaxPayments                                                              $0.00                        $0.00            $0.00
          TotalDisbursementtoCourt/Other:                                                  $0.00                        $0.00            $0.00
          TotalFundsDisburses(Line9Ͳ11):                                            $5,063.87                      $142.61        $5,206.48
Line13 EndingBalance(Asof09/30/2017):                                                   $44,510.45                   $30,948.95       $44,510.45
Line14 EndingBalanceofFundͲNetAssets:
 Line14a Cash&CashEquivalents                                                      $44,510.45                   $30,958.96 $44,510.45
 Line14b Investments                                                                   $2,053.87                    $2,053.87   $2,053.87
 Line14c OtherAssetsorUnclearedFunds(FrozenAccounts)                           $348,828.09                   $10,371.00 $348,828.09
          TotalEndingBalanceofFundͲNetAssets                                         $395,392.41                   $43,383.83 $395,392.41


OTHERSUPPLEMENTALINFORMATION:                                                       ReportingPeriod       SubtotalPriorPeriods       GrandTotal

          ReportofItemsNOTToBePaidbytheFund:
Line15 DisbursementsforPlanAdministrationExpensesNotPaidbytheFund:
 Line15a PlanDevelopmentExpensesNotPaidbytheFund:
          1.Fees                                                                                 $0.00                        $0.00             $0.00
                        FundAdministrator                                                       $0.00                        $0.00             $0.00
                         IDC                                                                      $0.00                        $0.00             $0.00
                         DistributionAgent                                                       $0.00                        $0.00             $0.00
                         Consultants                                                              $0.00                        $0.00             $0.00
                         LegalAdvisers                                                           $0.00                        $0.00             $0.00
                         TaxAdvisers                                                             $0.00                        $0.00             $0.00
          2.AdministrativeExpenses                                                              $0.00                        $0.00             $0.00
          3.Miscellaneous                                                                        $0.00                        $0.00             $0.00
          TotalPlanDevelopmentExpensesNotPaidbytheFund                                    $0.00                        $0.00             $0.00
 Line15b PlanImplementationExpensesNotPaidbytheFund:
          1.Fees
                         FundAdministrator                                                       $0.00                        $0.00             $0.00
                         IDC                                                                      $0.00                        $0.00             $0.00
                         DistributionAgent                                                       $0.00                        $0.00             $0.00
                         Consultants                                                              $0.00                        $0.00             $0.00
                         LegalAdvisers                                                           $0.00                        $0.00             $0.00
                         TaxAdvisers                                                             $0.00                        $0.00             $0.00
          2.AdministrativeExpenses                                                              $0.00                        $0.00             $0.00
          3.InvestorIdentification:
                         Notice/PublishingApprovedPlan                                          $0.00                        $0.00             $0.00
                         ClaimantIdentification                                                  $0.00                        $0.00             $0.00
                         ClaimsProcessing                                                        $0.00                        $0.00             $0.00
                         WebSiteMaintenance/CallCenter                                         $0.00                        $0.00             $0.00
          4.FundAdministratorBond                                                              $0.00                        $0.00             $0.00
          5.Miscellaneous                                                                        $0.00                        $0.00             $0.00
          6.FAIRReportingExpenses                                                              $0.00                        $0.00             $0.00
          TotalPlanImplementationExpensesNotPaidbytheFund                                 $0.00                        $0.00             $0.00
 Line15c TaxAdministratorFees&BondsNotPaidbytheFund                                 $0.00                        $0.00             $0.00
          TotalDisbursementsforPlanAdministrationExpensesNotPaidbytheFund               $0.00                        $0.00             $0.00
Line16 DisbursementstoCourt/OtherNotPaidbytheFund
 Line16a InvestmentExpenses/CRISFees                                                     $0.00                        $0.00             $0.00
 Line16b FederalTaxPayments                                                              $0.00                        $0.00             $0.00
          TotalDisbursementstoCourt/OtherNotPaidbyFund:                                    $0.00                        $0.00             $0.00
Line17 DC&StateTaxPayments                                                                   $0.00                        $0.00             $0.00
Line18 No.ofClaims:
 Line18a #ofClaimsReceivedThisReportingPeriod                                               0                            0             0
 Line18b #ofClaimsReceivedSinceInceptionofFund                                             0                            0             0
Line19 NoofClaimants/Investors



                                                                                                                                                   App. 004
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Line19a #ofClaimants/InvestorsPaidThisReportingPeriod                                                      0                         0                0
Line19b #ofClaimants/InvestorsPaidSinceInceptionofFund                                                    0                         0                0



[aa]ThebegininningbalanceasofJuly1,2017reflectsadditionalexpensestotheReceiver'saccountnotreflectedinthefirstquarterendingJune30,2017.
TheadditionalexpensesarenotedinLine10doftheSubtotalPriorPeriodscolumn.




                                                                                                                                                               App. 005
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                           EXHIBIT B-1




                                                                              App. 006
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                                              T HOMPSON & K NIGHT                                        L LP
                                                                                                                                                AUSTIN
                                                                                                                                                DALLAS
                                                        ATTORNEYS AND COUNSELORS                                                           FORT W ORTH
                                                                                                                                              HOUSTON
                                                                                                                                             NEW YORK
                                                                                                                                              -----------------------------
                                                                    ONE ARTS PLAZA                                                              ALGIERS
                                                            1722 ROUTH STREET Ɣ SUITE 1500                                                     LONDON
                                                               DALLAS, TEXAS 75201-2533                                                     MEXICO CITY
                                                                     (214) 969-1700                                                         MONTERREY
                                                                   FAX (214) 969-1751                                                              PARI S
                                                                     www.tkla w.co m                                                     RIO DE J ANEIRO
 TAX ID No. XX-XXXXXXX
 WWW.TKLAW.COM                                                                                                                              SÃO PAULO
                                                                                                                                               VITORIA




                                                                                                                         November 15, 2017
 SEC v. Thurman P. Bryant, III, et al.
 Jennifer Ecklund, Receiver
 Thompson & Knight LLP
 1722 Routh Street, Suite 1500
 Dallas, Texas 75201


                                                           INVOICE SUMMARY
 For Services Rendered During The Application Period July 1, 2017 through September 30, 2017

 Our Matter # 524661.000002
              RECEIVERSHIP

            Matter Balance Brought Forward ...................................................................................... $        13,306.36

               Total Fees for Professional Services* ................................................ $             70,650.00
               Voluntary Reduction (Travel) ...............................................................        (1,400.00)
               Voluntary Reduction (Applications) .....................................................              (500.00)
               Net Fees for Professional Services ** ...................................................            68,750.00
               Reimbursable Costs .............................................................................        540.07

                   Net Current Billing For This Matter ** .......................................................................$         69,290.07
                   Total Balance Due This Matter ................................................................................... $     82,596.43




 *Reflects 20% discount on gross fees for professional services.
 **Net of time recorded, but not billed, for preparation of Fee Application.




                                                                                                                                                                              App. 007
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  THOMPSON & KNIGHT LLP                                                                          Page 2
                                                                                                 November 15, 2017


                            SUMMARY OF WORK PERFORMED TO DATE
 Initial Analysis

     x    Coordinated resources and established protocols for locating, securing, and creating inventory of
          Receivership Assets and Records

     x    Consulted and coordinated with the SEC and the U.S. Marshals Service regarding initial location and
          collection of the Wammel Defendants’ Assets and Records

     x    Engaged Veritas to perform forensic accounting

     x    Cooperated, communicated, and coordinated with Securities and Exchange Commission

     x    Oversaw identification and securitization of real and personal property

 Securing Receivership Assets

     x    Oversaw and directed securing of the Bryant Defendants’ and Wammel Defendants’ real property in the
          following locations: Frisco, Texas; Kemah, Texas; Texas City, Texas; Austin, Texas; and League City,
          Texas

     x    Coordinated with local law enforcement in Texas

     x    Oversaw process of securing Receiver’s jurisdiction in Texas where property is or was believed to be
          located

     x    Oversaw analysis of Receivership records and equipment

     x    Fielded and responded to communications with owners and/or landlords of leased premises

     x    Oversaw a thorough search of all real property owned and/or leased by the Wammel Defendants

 Interactions with Vendors, Investors, and Creditors

     x    Fielded and responded to communications from investors, creditors, media, United States Attorneys, and
          other interested parties regarding case status and access to records

     x    Engaged forensic accountants and conferred with them to develop plan for handling and review of data

     x    Oversaw the preparation, filing, and service of the Receiver’s Initial Report for the Wammel Defendants on
          all known Investors

     x    Oversaw the establishment of a line of communication with investors by updating the Receiver’s website
          (http://bucfreceivership.tklaw.com) and provided investors with the Receivership Order

 Liquidation of the Bryant Defendants’ Assets
     x    Oversaw coordination with appraisers and auctioneers

     x    Oversaw cataloguing of property seized from the Bryant Defendants

     x    Obtained Court authority regarding liquidation of assets

     x    Accomplished liquidation of the Bryant Defendants’ assets in the Receiver’s possession




                                                                                                                       App. 008
 524662 000002 19929860.1
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  THOMPSON & KNIGHT LLP                                                                         Page 3
                                                                                                November 15, 2017

     x    Oversaw preparation of evidence and motions and participated in evidentiary hearings concerning sales of
          seized property

 Miscellaneous

     x    Analyzed strategy and options for proceeding with third party lawsuits including claw backs, fraudulent
          transfers, and disgorgement

     x    Oversaw discovery, including subpoenaing records pertinent to the Bryant Defendants and the Wammel
          Defendants and their business and personal and corporate finances

     x    Oversaw investigation and asset search and recovery efforts

     x    Communicated with counsel for Defendants and Relief Defendants

     x    Analyzed and implemented case management strategy

     x    Communicated with investors and reviewed correspondence and materials submitted by investors

     x    Provided extensive cooperation to various government authorities and agencies, including the SEC

     x    Oversaw work of forensic accountants and analysis of results

     x    Provided periodic reports to the Court and investors




                                                                                                                     App. 009
 524662 000002 19929860.1
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   THOMPSON & KNIGHT LLP                                                                                                Page 4
                                                                                                                        November 15, 2017




                                                      SUMMARY OF FEES
                                                                                            Discounted
  Name                                  Title                         Hours                Rate/Hr                                Amount
  Jennifer Ecklund                       Receiver                         141.30                $500.00                         $70,650.00

                                                             Reimbursable Costs

  Air fare, lodging, ground transportation, and other vendors (e.g., locksmiths, utility providers, vehicle storage)
  to complete work performed:
                 Total Reimbursable Costs .......................................................................................... $     540.07
  TOTAL VOLUNTARY REDUCTIONS .......................................................................................... $              (1,900.00)
  NET CURRENT BILLINGS FOR THIS MATTER*** ................................................................... $                         69,290.07
  TOTAL BALANCE DUE THIS MATTER ........................................................................................ $             82,596.43

  *Reflects 20% discount on gross fees for professional services.
  **Net of time recorded, but not billed, for preparation of Fee Application.




                                                                                                                                                    App. 010
  524662 000002 19929860.1
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                           EXHIBIT B-2




                                                                               App. 011
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                                               T HOMPSON & K NIGHT                                        L LP
                                                                                                                                                 AUSTIN
                                                                                                                                                 DALLAS
                                                         ATTORNEYS AND COUNSELORS                                                           FORT W ORTH
                                                                                                                                               HOUSTON
                                                                                                                                              NEW YORK
                                                                                                                                               -----------------------------
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                                                                DALLAS, TEXAS 75201-2533                                                     MEXICO CITY
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                                                                    FAX (214) 969-1751                                                              PARI S
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  WWW.TKLAW.COM                                                                                                                              SÃO PAULO
                                                                                                                                                VITORIA




                                                                                                                          November 15, 2017
  SEC v. Thurman P. Bryant, III, et al.
  Jennifer Ecklund, Receiver
  Thompson & Knight LLP
  1722 Routh Street, Suite 1500
  Dallas, Texas 75201


                                                            INVOICE SUMMARY
  For Services Rendered During The Application Period July 1, 2017 through September 30, 2017

  Our Matter # 524662.000002
               REPRESENTATION OF RECEIVER

             Matter Balance Brought Forward ...................................................................................... $      121,265.25

                Total Fees for Professional Services* ................................................ $           700,874.00
                Voluntary Reduction (Travel) ...............................................................        (9,248.00)
                Voluntary Reduction (Applications) .....................................................           (69,745.00)
                Voluntary Reduction (Additional 20% Paralegal Time) .......................                        (11,110.20)
                Voluntary Reduction (Time Under 25 Hours Held Back) .....................                          (60,086.00)
                Net Fees for Professional Services ** ...................................................          550,684.80
                Reimbursable Costs .............................................................................      4,443.03

                    Net Current Billing For This Matter ** .......................................................................$       555,127.83
                    Total Balance Due This Matter ................................................................................... $   676,393.08




  *Reflects 20% discount on gross fees for professional services.
  **Net of time recorded, but not billed, for preparation of Fee Application, and certain paralegal time.




                                                                                                                                                                               App. 012
  524662 000002 19929859.1
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     THOMPSON & KNIGHT           LLP                                                                   Page 2
                                                                                                       November 15, 2017



                                   SUMMARY OF WORK PERFORMED
  Case Administration

      x    Successfully moved to expand the Receivership and the asset freeze to and against the Wammel Defendants

      x    Commenced review of production served on the SEC in advance of the SEC filing the Complaint and any
           supplemental productions thereafter

      x    Successfully moved to liquidate and accomplished liquidation of the Bryant Defendants’ assets in the
           Receiver’s possession

      x    Commenced the liquidation process against the Wammel Defendants

      x    Researched and analyzed options regarding pursuit by Receiver of potential claims against third-parties

      x    Subpoenaed records pertinent to the Bryant Defendants and the Wammel Defendants as well as their
           business and personal and corporate finances

      x    Conducted legal research regarding authority to liquidate property

      x    Drafted numerous motions and briefs regarding authority to liquidate property

      x    Drafted responses regarding the significant need to maintain the Receivership and the tremendous
           consequences of dissolution or suspension of the Receivership

      x    Conducted research as to persons and entities of interest, including the Relief Defendants and companies
           owned (beneficially or otherwise) or operated by Defendant Wammel, based on the Receiver’s
           investigation

      x    Conducted research as to persons and entities of interest, including the Relief Defendants and companies
           owned or operated by Defendant Bryant, based on the Receiver’s investigation

      x    Sought and/or reviewed information from named Relief Defendants and other persons and entities of
           interest based on the Receiver’s investigation

      x    Successfully moved for and obtained a preliminary injunction against the Wammel Defendants requiring
           their compliance with the Receivership Order

      x    Successfully moved to receive a copy of the return on the search warrant for the purpose of identifying
           additional Bryant Defendants’ assets seized by the FBI

      x    Drafted various third-party lawsuits in effort to recover funds for Receivership Estate

      x    Communicated with pro se Defendant Bryant regarding his obligations and duties during the Receivership

      x    Conferred with Defendant Wammel’s counsel to discuss going-forward issues

      x    Maintained the Receiver’s bank account in accordance with the Receivership Order

      x    Satisfied on-going, ordinary course obligations of the Receivership Estate in order to maintain the status
           quo, including paying rent for the storage units, buying new locks, and having mail forwarded

      x    Research regarding and confirmation of filings under 28 U.S.C. §754 in each jurisdiction where
           Thompson & Knight LLP secured Receivership Assets




                                                                                                                        App. 013
  524662 000002 19929859.1
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     THOMPSON & KNIGHT           LLP                                                                    Page 3
                                                                                                        November 15, 2017


      x    Filed notice of Receivership in each district that newly discovered property subject to recovery may lie

      x    Prepared for preliminary injunction hearing, resulting in the extension of the ex parte temporary restraining
           order against the Wammel Defendants to provide the Court with time to issue an order granting the
           preliminary injunction

      x    Took deposition of Defendant Bryant

      x    Prepared periodic reports to the Court on the status of the Receivership

      x    Prepared periodic reports to investors on the work of the Receiver and information pertinent to investors’
           claims

      x    Cooperated with various government agencies to assist in their investigation

      x    Maintained database of investor claims

      x    Developed information pertinent to the possible location of additional Receivership assets

  Initial Analysis of the Wammel Defendants’ Receivership Assets

      x    Coordination of resources and establishment of protocols for locating, securing, and creating inventory of
           the Wammel Defendants’ Assets and Records

      x    Research regarding existence of real property and personalty to be seized from the Wammel Defendants

      x    Consultation and coordination with the SEC, the Receiver, and the U.S. Marshals Service regarding initial
           location and collection of the Wammel Defendants’ Assets and Records

      x    Identified and secured real and personal property of the Receivership

      x    Reviewed and analyzed seized records and equipment

  Securing of the Wammel Defendants’ Receivership Assets

      x    Secured for the Receiver real property in the following locations: Frisco, Texas; Kemah, Texas; Texas
           City, Texas; Austin, Texas; and League City, Texas
      x    Secured for the Receiver storage units leased by Defendant Wammel
      x    Secured for the Receiver an aircraft and more than seven (7) motor vehicles owned by the Wammel
           Defendants
      x    Took steps to secure the office location of Defendant Wammel Group in Dickinson, Texas
      x    Coordinated with local law enforcement, where necessary, and property management for access to each
           premises; changed locks and disabled electronic access where in use; coordinated with property
           management and private security, where necessary, to assure future access was limited to the Receiver or
           her representatives

      x    Collected and/or forwarded all mail from Defendant Wammel’s (former) primary residence to the Receiver
           and established protocol for handling of incoming mail

      x    Prepared detailed written and photographic inventories of assets in each location

      x    Coordinated with owners and/or landlords of leased premises




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      x    Analyzed Receivership records and compiled preliminary list of accounts, players, and company structures

      x    Compiled inventories of all electronic equipment and coordinated with Ernst & Young regarding securing
           of electronic assets and imaging of electronic devices seized at the Wammel residences

      x    Compiled inventories of all personalty seized at the Wammel Defendants’ real property and leased storage
           units

      x    Disposed of perishable items

      x    Performed thorough searches of real property leased and/or owned by the Wammel Defendants

      x    Prepared numerous boxes of materials and equipment which were packaged and forwarded to the Receiver

      x    Coordinated with U.S. Marshals, local police and private security service providers to further secure
           Receivership assets and records

  Interactions with Vendors, Investors, and Creditors

      x    Engaged and worked with Veritas to perform forensic accounting and coordinated appropriate follow-up
           with respect to various identified accounts and/or persons or entities of interest discovered, as well as to
           investigate and determine identifying information as to the BUCF Investors, including amounts invested

      x    Worked with Veritas to perform forensic accounting and related analysis regarding, among other things, the
           intricate, overlapping Ponzi scheme operated by the Bryant and Wammel Defendants identified as part of
           the Receiver’s investigation

      x    Communicated with and directed the work of forensic accounting firm for specific purposes in ascertaining
           the location of Receivership monies

      x    Supervised and analyzed forensic accounting results

      x    Determined the location of monies transferred by the Bryant Defendants and the Wammel Defendants that
           may be recoverable by the Receivership Estate

      x    Performed extensive analysis of forensic accounting to develop complete picture of cash flow through the
           Bryant Defendants’ and the Wammel Defendants’ accounts

      x    Fielded and responded to communications from investors

      x    Reviewed information submitted by investors in furtherance of the Receiver’s duties pursuant to the
           Receivership Order

      x    Prepared, filed, and served the Receiver’s Initial Report for the Wammel Defendants on all known
           Investors

      x    Established a line of communication with investors by updating the Receiver’s website
           (http://bucfreceivership.tklaw.com) and provided Wammel Defendants’ investors with the Receivership
           Order

      x    Formally notified all landlords/property managers of the Receivership




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  Liquidation of the Bryant Defendants’ Assets
      x    Coordinated with relevant valuation consultants regarding inventoried personalty, including on-line auction
           house and gun consultant

      x    Coordinated with appraisers and auctioneers

      x    Catalogued property seized from the Bryant Defendants

      x    Obtained Court authority regarding liquidation of assets

      x    Accomplished liquidation of the Bryant Defendants’ assets in the Receiver’s possession




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                                                    SUMMARY OF FEES*
                                                                                           Discounted
  Name                                 Title                         Hours                Rate/Hr                                Amount
  William Banowsky                      Partner                          160.00                  $520.00                           $83,200.00
  Timothy Hudson                        Partner                           311.30                   475.00                           147,867.50
  Hunter Barrow                         Partner                            43.50                   475.00                            20,662.50
  Katharine Clark                       Partner                            91.00                  475.00                             43,225.00
  Mackenzie Wallace                    Associate                         315.50                   420.00                            132,510.00
  Emily Miller                         Associate                          118.50                  420.00                             49,770.00
  Mackenzie Salenger                   Associate                         209.90                   280.00                             58,772.00
  Matthew Alexander                    Associate                           72.30                  280.00                             20,244.00
  Sydne Collier                        Attorney                          103.20                   280.00                             28,896.00
  Janice Graves                        Paralegal                           75.20                  250.00                             18,800.00
  Eduardo Sanchez                      Paralegal                         193.90                   190.00                             36,841.00
  TOTAL FEES                                                          1,694.30                                                   $640,788.00

                                                            Reimbursable Costs

  Air fare, lodging, ground transportation, and other vendors (e.g., locksmiths, utility providers, vehicle storage)
  to complete work performed:
                 Total Reimbursable Costs .......................................................................................... $ 4,443.03
  TOTAL VOLUNTARY REDUCTIONS .......................................................................................... $ (90,103.20)
  NET CURRENT BILLING FOR THIS MATTER** ....................................................................... $ 555,127.83
  TOTAL BALANCE DUE THIS MATTER ........................................................................................ $ 676,393.08

  *Net of time for timekeepers with time under 25 hours per month.
  **Reflects 20% discount on gross fees for professional services and netting out of fees for preparation of the
  Application.




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                            EXHIBIT C




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